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                                                        U.S. Department of Justice


                                                        United States Attorney
                                                        Eastern District of New York
  TH:AP                                                 271 Cadman Plaza East
  F. #2023R00202                                        Brooklyn, New York 11201



                                                        November 15, 2024

  By ECF

  The Honorable William F. Kuntz II
  United States District Judge
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

                 Re:     United States v. Thierno Marifou Bah
                         Criminal Docket No. 23-201 (WFK) _

  Dear Judge Kuntz:

                  The government respectfully submits this letter in advance of the defendant
  Thierno Marifou Bah’s sentencing, currently scheduled for November 25, 2024. On March 8,
  2024, the defendant pled guilty to the sole count of the indictment, charging him with illegally
  reentering the United States after a conviction for the commission of an aggravated felony, in
  violation of 8 U.S.C. §§ 1326(a) and (b)(2). For the reasons set forth below, the government
  respectfully submits that a sentence of probation is sufficient, but not greater than necessary, to
  achieve the goals of sentencing in this case.
  I.     Background

                 A.      The Defendant’s Prior Conviction

                  The defendant was convicted of first-degree rape in Kings County following a
  violent encounter with a female victim (“Jane Doe-1”) on March 18, 2023. Presentence
  Investigation Report, dated September 9, 2024 (“PSR”) ¶ 19. On that date, the defendant and
  Jane Doe-1 were at the defendant’s home in Brooklyn watching a movie. The defendant asked
  Jane Doe-1 for a kiss but she refused. Jane Doe-1 began to leave the defendant’s home but the
  defendant blocked her path by pushing and punching her. He then pushed Jane Doe-1 to the
  ground and placed his hands around Jane Doe-1’s neck causing her to believe that she would lose
  consciousness. The defendant forcibly removed Jane Doe-1’s pants and inserted his penis into
  her vagina without her consent. Jane Doe-1 later reported the rape to police and was treated at a
  local hospital for lacerations to her face, arms, body, legs and hands. On January 5, 2015, the
  defendant pled guilty to first-degree rape and was sentenced to five years’ imprisonment. PSR
  ¶ 3. In June 2017, the defendant was ordered deported from the United States and eventually
  removed to his native Guinea on November 14, 2017. PSR ¶ 3.
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                B.       The Defendant’s Conduct

                On March 5, 2023, the defendant arrived at JFK on a flight from Morrocco. PSR
  ¶ 4. Upon arrival to the United States, a search of law enforcement databases revealed that the
  defendant had been previously deported and removed from the United States. PSR ¶ 4. The
  defendant was detained by law enforcement officers with the U.S. Customs and Border
  Protection (“CBP”) and subsequently released on bond at arraignment. PSR ¶ 4. Within days,
  however, the defendant was taken into custody by the U.S. Immigration and Customs
  Enforcement (“ICE”) until his release on bail seven months later on October 11, 2023. PSR ¶ 4.

                C.       The Defendant’s Current Immigration Status

                On August 29, 2023, the Honorable Jennifer Piateski, Immigration Judge,
  Elizabeth Immigration Court, determined that the defendant satisfied his burden of proof in
  immigration court to establish that it was more likely than not that he would be tortured if
  removed to his country of origin and, as such, deferred the defendant’s removal under the
  Convention Against Torture. PSR ¶ 39. The defendant is subject to indefinite supervision by
  ICE.

  II.    Applicable Guidelines Range

                The government and the defendant agree with the Guidelines calculation set forth
  in the PSR:

                Base Offense Level (U.S.S.G. § 2L1.2(a))                                    8

                Plus: Reentry following conviction for felony offense for which sentence
                      imposed was five years or more (U.S.S.G. § 2L1.2(b)(2)(A))       +10

                Less: Acceptance of Responsibility (U.S.S.G. § 3E1.1)                      -3

                Total:                                                                     15

  PSR ¶¶ 8-15. The total offense level is 15, which, based on a Criminal History Category of II,
  carries a Guidelines range of 21 to 27 months in custody. PSR ¶ 69.
  III.   Analysis

                 The government respectfully requests that the Court impose a sentence of
  probation. Such sentence would be sufficient, but not greater than necessary, to achieve the
  goals of sentencing. See 18 U.S.C. § 3553(a). As the Court is aware, an appropriate sentence
  should, among other things, reflect the seriousness of the offense, promote respect for the law,
  and provide just punishment for the offense. See 18 U.S.C. § 3553(a)(2)(A). In addition, an
  appropriate sentence should consider the history and characteristics of the defendant, see id.
  § 3553(a)(1), and should afford adequate deterrence to criminal conduct, protect the public from
  further crimes of the defendant and provide the defendant with needed educational or vocational
  training, medical care or other correctional treatment in the most effective manner, id.
  § 3553(a)(2)(B)-(D). In weighing these factors, “a district court has broad latitude to ‘impose


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  either a Guidelines sentence or a non-Guidelines sentence.’” United States v. Rigas, 583 F.3d
  108, 114 (2d Cir. 2009) (quoting United States v. Sanchez, 517 F.3d 651, 560 (2d Cir. 2008)).

                  As an initial matter, the nature and circumstances of the instant offense are
  serious. See 18 U.S.C. § 3553(a)(1). This factor should, however, be evaluated in light of the
  reasons that motivated the defendant to re-enter the United States illegally last year. As set forth
  in the PSR, the defendant suffered periods of political persecution that resulted in torture in his
  native country.

                  Here, the Section 3553 factors and the compelling mitigation presented by the
  defendant weigh in favor of leniency. Therefore – in analyzing this mitigation in conjunction
  with the seriousness of the offense and the need for the imposed sentence to promote respect for
  the law and to afford adequate deterrence – the government respectfully submits that a sentence
  of probation is sufficient, but not greater than necessary, to achieve the goals of sentencing in
  this case.
  IV.    Conclusion

                For the foregoing reasons, the government respectfully requests that the Court
  impose a sentence of probation.
                                                        Respectfully submitted,

                                                        BREON PEACE
                                                        United States Attorney

                                                By:       /s/ Andrés Palacio
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  cc:    Clerk of Court (by ECF)
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